     Case 1:14-cv-00254      Document 474          Filed on 09/14/17 in TXSD     Page 1 of 1
                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                        IN THE UNITED STATES DISTRICT COURT                         September 14, 2017
                        FOR THE SOUTHERN DISTRICT OF TEXAS                           David J. Bradley, Clerk

                               BROWNSVILLE DIVISION

STATE OF TEXAS, ET AL.,                            §
           Plaintiffs,                             §
                                                   §
V.                                                 §         CIVIL NO. B-14-254
                                                   §
UNITED STATES OF AMERICA, ET AL.,                  §
          Defendants.                              §

                                           ORDER
        All pending motions are hereby denied as moot including Doc. Nos. 437, 442, 444, 454, and

464.

        Signed this 14th day of September, 2017.



                                                       ________________________________
                                                       Andrew S. Hanen
                                                       United States District Judge
